UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION

UNITED STATES OF AMERICA )
) No. 35:23- 00128

v. )

) 18 U.S.C. § 2252A(a)(2) and (b)
BRANDON WESLEY ROGERS )

INDICTMENT
COUNT ONE

THE GRAND JURY CHARGES:

On or about May 26, 2022, in the Middle District of Tennessee and elsewhere, BRANDON
WESLEY ROGERS knowingly distributed any child pornography, to wit: a video approximately
sixty-eight seconds in length, as defined in Title 18, United States Code, Section 2256(8)(A), that
had been shipped and transported in and affecting interstate and foreign commerce by any means,
including by computer, and that had been shipped and transported using any means and facility of
interstate and foreign commerce.

In violation of Title 18, United States Code, Section 2252A(a)(2) and (b).

COUNT TWO

Between on or about May 26, 2022, and on or about May 27, 2022, in the Middle District
of Tennessee and elsewhere, BRANDON WESLEY ROGERS knowingly distributed any child
pornography, to wit: a video approximately twenty-nine seconds in length, as defined in Title 18,
United States Code, Section 2256(8)(A), that had been shipped and transported in and affecting
interstate and foreign commerce by any means, including by computer, and that had been shipped
and transported using any means and facility of interstate and foreign commerce.

In violation of Title 18, United States Code, Section 2252A(a)(2) and (b).

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COUNT THREE

THE GRAND JURY FURTHER CHARGES:

Between on or about May 26, 2022, and on or about May 27, 2022, in the Middle District
of Tennessee and elsewhere, BRANDON WESLEY ROGERS knowingly distributed any child
pornography, to wit: a video approximately eighteen seconds in length, as defined in Title 18,
United States Code, Section 2256(8)(A), that had been shipped and transported in and affecting
interstate and foreign commerce by any means, including by computer, and that had been shipped
and transported using any means or facility of interstate and foreign commerce.

In violation of Title 18, United States Code, Section 2252A(a){2) and (b).

COUNT FOUR

On or about May 27, 2022, in the Middle District of Tennessee and elsewhere, BRANDON
WESLEY ROGERS knowingly distributed any child pornography, to wit: a video approximately
twenty-three seconds in length, as defined in Title 18, United States Code, Section 2256(8)(A),
that had been shipped and transported in and affecting interstate or foreign commerce by any
means, including by computer, and that had been shipped and transported using any means and
facility of interstate and foreign commerce.

In violation of Title 18, United States Code, Section 2252A(a)(2) and (b).

COUNT FIVE

THE GRAND JURY FURTHER CHARGES:

On or about May 27, 2022, in the Middle District of Tennessee and elsewhere, BRANDON
WESLEY ROGERS knowingly distributed any child pornography, to wit: a video approximately
nine seconds in length, as defined in Title 18, United States Code, Section 2256(8)(A), that had

been shipped and transported in or affecting interstate and foreign commerce by any means,

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including by computer, and that had been shipped and transported using any means and facility of

interstate or foreign commerce.

In violation of Title 18, United States Code, Section 2252A(a)(2) and (b).

FORFEITURE ALLEGATION
1. The allegations contained in this Indictment are re-alleged and incorporated by
reference as if fully set forth in support of this forfeiture.
2. Upon conviction of one or more of the offenses alleged in this Indictment,
BRANDON WESLEY ROGERS shall forfeit to the United States, pursuant to 18 U.S.C. § 2253:
(a) Any visual depiction described in 18 U.S.C. §§ 2251 or 2252A, or any book,
magazine, periodical, film, videotape or other matter which contains any such
visual depiction which was produced, transported, mailed, shipped or received in
violation of law;
(b) Any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from such offense; and
(c) | Any property, real or personal, used or intended to be used to commit or to
promote the commission of such offense(s) or any property traceable to such
property including but not limited to:
Any electronic devices seized from BRANDON WESLEY ROGERS on August 3, 2023,
including, but not limited to, the following:
e Samsung tablet with blue and gray case, serial number RS2NAO2JKVHK
e WD Passport external hard drive, serial number WXD1A43E2530

e SanDisk USB drive

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e Crucial M500 SSD from computer tower, serial number 1335094BE71A
e Samsung cellular telephone, IMEI: 35555252 17680873

e HP laptop with charger cord, serial number SCDO1F42B3

e Silver colored LG V20 cellular telephone in black case

e Gray colored LG V20 cellular telephone in pink and black case

HENRY C. LEVENTIS
UNITED STATES ATTORNEY

MONICA R. MORRISON
ASSISTANT UNITED STATES ATTORNEY

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